                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

U.S. EQUAL EMPLOYMENT                                  )
OPPORTUNITY COMMISSION,                                )
                                                       )       Case No. 24-CV-08910
                       Plaintiff,                      )
                                                       )       Honorable Andrea R. Wood
                       v.                              )
                                                       )
REGGIO’S PIZZA, INC.                                   )
                                                       )
                       Defendant.                      )
                                                       )

      DEFENDANT REGGIO’S PIZZA, INC.’S ANSWER TO PLAINTIFF’S
       COMPLAINT, JURY DEMAND, AND AFFIRMATIVE DEFENSES
       Defendant Reggio’s Pizza, Inc. (“Reggio’s” or “Defendant”) by R. Delacy Peters,

Jr. Esq., through R. Delacy Peters, Jr. and Quintairos, Prieto, Wood & Boyer, P. A.,

through Anthony L. Schumann, answers Plaintiff’s Complaint, and states its jury

demand and affirmative defenses as follows:

                                    JURISDICTION AND VENUE

       1.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331, 1337, 1343

and 1345. This action is authorized and instituted pursuant to Sections 706(f)(1) and 706(f)(3) of

Title VII, as amended, 42 U.S.C. § 2000e-5(f)(1) and § 2000e-5(f)(3), and Section 102 of the Civil

Rights Act of 1991, 42 U.S.C. § 1981a.

       ANSWER:         Defendant admits the allegations contained in Paragraph 1.

       2.      The employment practices alleged to be unlawful were committed within the

jurisdiction of the United States District Court for the Northern District of Illinois.

       ANSWER:         Defendant admits that the unlawful employment practices alleged in

the Complaint are alleged to have occurred within the jurisdiction of the United States
District Court for the Northern District of Illinois. Defendant denies that any unlawful

employment practices occurred.

       3.      Plaintiff United States Equal Employment Opportunity Commission (“EEOC” or

“Commission”) is an agency of the United States of America charged with the administration,

interpretation, and enforcement of Title VII, and is expressly authorized to bring this action by

Sections 706(f)(1) and 706(f)(3) of Title VII, 42 U.S.C. §§ 2000e-5(f)(1) and 2000e-5(f)(3).

       ANSWER:         Defendant admits the allegations contained in Paragraph 3.

       4.      Defendant sells both fresh-made and frozen pizzas at several retail locations in

Chicago, including several locations at O’Hare Airport.

       ANSWER:         Defendant admits the allegations contained in Paragraph 4.

       5.      At all relevant times, Defendant has continuously been a corporation doing business

in the State of Illinois, in Cook County.

       ANSWER:         Defendant admits the allegations contained in Paragraph 5.

       6.      At all relevant times, Defendant has continuously had at least 15 employees.

       ANSWER:         Defendant admits the allegations contained in Paragraph 6.

       7.      At all relevant times, Defendant has continuously been an employer engaged in an

industry affecting commerce within the meaning of Sections 701(b), (g) and (h) of Title VII, 42

U.S.C. §§ 2000e(b), (g) and (h).

       ANSWER:         Defendant admits the allegations contained in Paragraph 7.



                              ADMINISTRATIVE PROCEDURES

       8.      More than thirty days prior to the institution of this lawsuit, EEOC Charge No. 440-

2020-03891 was filed with the Commission alleging violations of Title VII by Defendant.
       ANSWER:        Defendant admits the allegations contained in Paragraph 8.

       9.      On April 30, 2024, the Commission issued to Defendant a Letter of Determination

finding reasonable cause to believe that Defendant violated Title VII by discriminating against the

Aggrieved Individual by retaliating against her for opposing Defendant’s unlawful employment

practices.

       ANSWER:        Defendant admits that the Commission issued a Letter of

Determination dated April 30, 2024, and that the Letter of Determination speaks for itself.

       10.     The Commission invited Defendant to join with the EEOC in informal methods of

conciliation to endeavor to eliminate the discriminatory practices and provide appropriate relief.

        ANSWER:       Defendant admits that the Commission invited Defendant to join with

the EEOC in informal methods of conciliation. Defendant denies the remaining allegations

contained in Paragraph 10, including that Defendant has committed unlawful

discriminatory practices that require elimination or appropriate relief.

       11.     The Commission engaged in communications with Defendant to provide it with the

opportunity to remedy the discriminatory practices described in the Letter of Determination.

       ANSWER:        Defendant admits the Commission engaged in communications with

Defendant. Defendant denies the remaining allegations contained in Paragraph 11,

including that Defendant has committed unlawful discriminatory practices that require

remedy.

       12.     The Commission was unable to secure from Defendant a conciliation agreement

acceptable to the Commission.

       ANSWER:        Defendant admits the allegations contained in Paragraph 12.


       13.     On August 7, 2024, the Commission issued to Defendant a Notice of Failure of
Conciliation.

       ANSWER:          Defendant states that on August 6, 2024, the Defendant advised the

Commission that due to the Commission’s unreasonable demands the efforts to conciliate

the charge had become unachievable and the matter was not able to be resolved. Following

that Defendant admits that the Commission issued a Notice of Failure of Conciliation.

       14.      All conditions precedent to the institution of this lawsuit have been fulfilled.

       ANSWER:           Defendant denies that the Commission conducted a reasonable

investigation into this matter and that the Commission participated in a good faith

conciliation effort.



                                    STATEMENT OF CLAIMS

       15.      Since at least March 2020, Defendant has engaged in unlawful employment

practices at its location in O’Hare Airport, in violation of Section 704(a) of Title VII, 42 U.S.C.

§ 2000e-3(a). In particular:

             a) The Aggrieved Individual began working at Defendant as a cashier on or about

       January 24, 2020.

             b) During her employment, the Aggrieved Individual complained to the company that

       she believed a manager had outed her to other employees, that is, revealed to other

       employees that she is transgender.

             c) After she was outed, coworkers repeatedly misgendered her, that is, referred to her

       as male and using male pronouns. On or about March 3, 2020, such conduct by coworkers

       prompted a customer to make an offensive comment about the Aggrieved Individual, who

       is also Black, referring to her as a “fucking faggot nigger.”
             d) Later the same day, on or about March 3, 2020, the Aggrieved Individual reported

       this additional, highly-offensive sex-based and race-based harassment to a manager.

             e) Immediately after the Aggrieved Individual’s March 3, 2020 complaint, the

       manager took away the Aggrieved Individual’s airport badge, preventing her from further

       reporting to work at the airport.

             f) As set forth above, the Aggrieved Individual communicated with Defendant to

       oppose harassment she reasonably believed to be unlawful.

             g) Defendant failed to address or remedy the harassment.

             h) As a result of the Aggrieved Individual’s opposition to sex- and race-based

       harassment, Defendant discharged her.

       ANSWER:          Defendant admits the allegation contained in Paragraph 15,

subparagraph a, and denies the remaining allegations contained in Paragraph 15 including

subparagraphs b through h.

       16.      The effect of the practices complained of above in Paragraphs 15 has been to

deprive the Aggrieved Individual of equal employment opportunities and otherwise adversely

affect her status as an employee because of her opposition to employment practices she reasonably

believed to be unlawful under Title VII.

       ANSWER:          Defendant denies the allegations contained in Paragraph 16.

       17.      The unlawful employment practices complained of above were intentional.

       ANSWER:          Defendant denies the allegations contained in Paragraph 17.

       18.      The unlawful employment practices complained of above were done with malice

or with reckless indifference to the federally protected rights of the Aggrieved Individual.

       ANSWER:          Defendant denies the allegations contained in Paragraph 18.
                                     PRAYER FOR RELIEF

Wherefore, the Commission respectfully requests that this Court:

   A. Grant a permanent injunction enjoining Defendant, its officers, agents, servants,

       employees, attorneys, and all persons in active concert or participation with it, from

       subjecting its employees to discriminatory or retaliatory treatment in violation of Title VII.

   B. Order Defendant to institute and carry out policies, practices, and programs which provide

       equal employment opportunities for its employees regardless of sex, and which eradicate

       the effects of its past and present unlawful employment practices.

   C. Order Defendant to make whole the Aggrieved Individual, by providing appropriate

       backpay, in amounts to be determined at trial, and other affirmative relief necessary to

       eradicate the effects of its unlawful employment practices, including but not limited to

       reinstatement or front pay in lieu of reinstatement.

   D. Order Defendant to make whole the Aggrieved Individual by providing compensation for

       past and future pecuniary losses resulting from the unlawful employment practices

       described above, in amounts to be determined at trial.

   E. Order Defendant to make whole the Aggrieved Individual by providing compensation for

       past and future nonpecuniary losses resulting from the unlawful practices complained of

       above, including, but not limited to, emotional pain, suffering, humiliation, and

       inconvenience, in amounts to be determined at trial.

   F. Order Defendant to pay the Aggrieved Individual who was subjected to the unlawful

       practices alleged above punitive damages for its malicious and reckless conduct, as

       described above, in amounts to be determined at trial.
   G. Order Defendant to pay the Aggrieved Individual who was subjected to the unlawful

       practices alleged above prejudgment interest.

   H. Grant such further relief as the Court deems necessary and proper in the public interest.

   I. Award the Commission its costs of this action.



ANSWER:        Defendants having fully answered the allegations in Plaintiff’s Complaint

denies that Plaintiff suffered damages or violation of her rights and further denies Plaintiff

is entitled to any relief in this matter whatsoever, and requests that this Court dismiss the

Complaint in its entirety, with prejudice, and for such other and further relief as this Court

deems just and proper under the circumstances.



                            DEFENDANT’S JURY TRIAL DEMAND

       Defendant demands a trial by jury pursuant to Federal Rules of Civil Procedure 38(b)

on all issues so triable.

                                     AFFIRMATIVE DEFENSES

       1.      Plaintiff’s claims are barred in that she voluntarily resigned from her job and was

not fired or terminated.

       2.      Plaintiff’s claims are barred in that she failed to properly report her alleged

complaint.

       3.      Plaintiff’s claims are barred in that the alleged wrongful action exercised by

Defendant was mandated by federal law and set forth by the City of Chicago as required at O'Hare

Airport where Plaintiff was employed.

       4.      Plaintiff’s claims are barred in that she did not allow Defendant an opportunity to
investigate or take action regarding her alleged claims.

       5.      Plaintiff’s claims are barred to the extent that she failed to exhaust her

administrative remedies before bringing suit.

       6.      Plaintiff’s claims are barred to the extent that she failed to file an EEOC charge of

discrimination within 300 days of the alleged discriminatory or alleged retaliatory actions.

       7.      The actions taken by Defendant with respect to Plaintiff were taken in good faith

and without respect to Plaintiff’s sex or race.

       8.      Defendant would have taken the same employment actions in the absence of the

alleged impermissible motivation.

       9.      Defendant had legitimate, non-discriminatory, and non-retaliatory reasons for its

employment decisions concerning Plaintiff which were job-related and consistent with business

necessity.

       10.     Plaintiff’s claims for damages are barred to the extent that she failed to properly

mitigate her alleged damages.

       11.     Plaintiff’s claim for harassment is barred because Defendant exercised reasonable

care to prevent and correct any allegedly harassing conduct.




Dated December 27, 2024

                                                     Respectfully submitted,

                                                      /s/ Anthony L. Schumann
                                                      Anthony L. Schumann
                                                      Attorney for Defendant Reggio’s Pizza, Inc.
Anthony L. Schumann
E-mail: Anthony.Schumann@qpwblaw.com
Susan B. Frischer
E-mail: Susan.Frischer@qpwblaw.com
Quintairos, Prieto, Wood & Boyer, P.A.
111 W. Monroe Street, Suite 700
Chicago, Illinois 60603
Telephone: (312) 566-0040
Facsimile: (312) 566-0041
Firm ID: 48947

R Delacy Peters, Jr.
E-mail: rdpeters@rdpetersjr.com
R Delacy Peters, Jr., Esq.
200 North Green Street
Chicago, Illinois 60607
Telephone: (312) 871-1940
Attorney ID: 6202429
